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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                           No. CIV-12-0113 WJ/LAM


SAMUEL E. FIELDS, et al.,

               Defendants.

     ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL [Doc. 51]
       THIS MATTER is before the Court on the United States’ Motion to Compel Production

of Documents by Defendants Samuel E. Fields and Johnette Fields (Doc. 51), filed

July 10, 2015. Defendants have not responded to the motion, nor requested an extension of time,

and the time for responding has passed. Having considered the motion, record of the case, and

relevant law, the Court FINDS finds that the motion is well-taken and should be GRANTED.

       It its motion, Plaintiff states that Defendants failed to produce any documents in response

to Plaintiff’s requests for production. See [Doc. 51 at 1-2], [Doc. 51-1 at 2], [Doc. 51-2 at 8] and

[Doc. 51-3 at 8]. Plaintiff asks the Court to compel Defendants to produce documents that are

responsive to its requests for production. [Doc. 51 at 3]. Defendants have not filed a response to

the motion, and the time for responding has passed. “The failure of a party to file and serve a

response in opposition to a motion within the time prescribed for doing so constitutes consent to

grant the motion.” D.N.M. LR-Civ. 7.1(b). Defendants’ failure to timely respond to the motion,

therefore, constitutes consent to the grant the motion. Moreover, Defendants have not claimed

that the requested materials are not relevant or that they are privileged.                      See
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Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense.”). For these reasons, the Court will grant Plaintiff’s

motion.

       IT IS THEREFORE ORDERED that the United States’ Motion to Compel Production

of Documents by Defendants Samuel E. Fields and Johnette Fields (Doc. 51) is GRANTED.

       IT IS FURTHER ORDERED that, within fifteen (15) days of entry of this order,

Defendants must produce all documents that are responsive to Plaintiff’s requests for production.

Defendants are warned that failure to comply with this Order may result in sanctions as set

forth in Fed. R. Civ. P. 37(b)(2)(A).

       IT IS SO ORDERED.



                                             ______________________________________
                                             LOURDES A. MARTÍNEZ
                                             UNITED STATES MAGISTRATE JUDGE




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